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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE DSJULzz PHI‘h'
WESTERN DIVISION
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MICHAEL J. MARKIE, and ELLEN
RUBY-MARKIE,

Plaintiffs,
No. 04-2927 Ma/V

v»

DONALD R. CHASTAIN,

Defendant.

 

ORDER DENYING DEFENDANT'S MOTION TO DISMISS FOR LACK OF SUBJECT
MATTER JURISDICTION

 

This case arises from a May 4, 2004, turkey hunting accident.
(Compl. at FI 6, 13.) Plaintiffs Michael J. Markie (“Markie”) and
his wife Ellen Ruby-Markie (“Mrs. Markie") bring claims of
negligence, res ipsa loquitur, recklessness and gross negligence,
and loss of consortium. (Compl. at TT 17-28.) Before the court is
defendant Donald R. `Chastain's (“Chastain”) Fed. R. Civ. P.
12(b)(l) motion to dismiss for lack of subject matter jurisdiction,
filed on December lO, 2004. The Markies filed a response on
December 22, 2004. For the following reasons, Defendant's motion to
dismiss is DENIED.

I. Background
The Markies, in their Complaint, describe the circumstances of

the hunting accident as follows. “In the early morning hours of May

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4, 2004, Markie and Chastain went turkey hunting in a swamp bottom
in the Wolf River area near Moscow, Fayette County, Tennessee.”
(Compl. at L 6.) After hearing a “gobbler,” Markie and Chastain set
up decoys. (Id. at I 8.) After concealing himself near a tree,
Markie “gave his signature turkey call, two soft ‘clucks’ followed
by a soft ‘yelp.'” (Id. at L ll.) “Immediately upon Markie's giving
his turkey call, Chastain turned around in the direction of the
decoys and fired his [shot]gun ... in Markie's directionll shooting
Markie at close range in the head, neck, chest, and left arm.” (Id.
a1:1[12.)

The Markies' Complaint alleges that jurisdiction is proper
under 28 U.S.C. § 1332 because there is complete diversity of
citizenship between the parties and the amount in controversy is
greater than $75,000. (Id. at I 4.) It is undisputed that Chastain
is a citizen of Tennessee and resides in Germantown, Shelby County,
Tennessee. (Id. at T 3.)

_Chastain has filed an affidavit alleging that he has personal
knowledge that the Markies are citizens of Fayette County,
Tennessee. According to Chastain the Markies “live and have lived
for the past many years [in] Tennessee.... The vehicles they drive
are principally lodged in the State of Tennessee and have Tennessee
tags. They hold valid Tennessee driver's licenses. They are
registered to vote in Fayette County....” (Chastain Aff. at I 3.)

Chastain alleges that the Markies’ house in Arkansas is not their

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principal residence. (Id. at j 4.) According to Chastain, “Michael
Markie told me that the reason the Complaint was being filed in
Federal Court, along with the allegation that he lived in the State
of Arkansas, was to take advantage of early disclosure requirements
which are not found under state law.” (Id.)

According to the Markies, when their Complaint was filed on
November 17, 2004, they were residents of Leslie, Searcy County,
Arkansas. (Markie Aff. at j l; Mrs. Markie Aff. at j l.) The
Markies claim that, at that time, they intended to continue
residing in Arkansas. (Markie Aff. at 1 l; Mrs. Markie Aff. at j
l.) The Markies have presented evidence that when their Complaint
was filed both Markie and Mrs. Markie had Arkansas driver licenses,
their vehicles were registered in Arkansas, and they were
registered to vote in Arkansas.l (Markie Aff. at j 2, Ex. A, B;
Mrs. Markie Aff. at j 2, Ex. A, B.)

The Markies admit that prior to Markie’s injury they were
citizens of Tennessee. (Markie Aff. at j 3; Mrs. Markie Aff. at j
3.) They allege, however, that Markie's injury caused them to move
from Tennessee to their second home in Arkansas:

[We] previously resided in Tennessee, where our business

was located. However, from the time we purchased the home

we own in Leslie, Arkansas approximately four and one-

half years ago, it has been our intention to reside there
permanently. Since the shooting ... my husband ... has

 

1The Markies both filed affidavits with photocopies of their Arkansas
driver licenses and vehicle registration certificates attached as exhibits. The
driver licenses and vehicle registration certificates are dated November 11,
2004.

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been ... largely' incapacitated. Due to the hardship
caused by being without his income since he was shot, we
cannot continue to bear the expense of maintaining two
homes. Since he may never be able to return to his former
employment, we have moved where it is cheaper for us to
live. Thus, before we filed this lawsuit, we met with a
realtor about leasing or selling our home in Fayette
County, Tennessee and began and have continued to ready
the home for sale; we changed the mailing address on the
bills and statement we regularly receive to our address
in. Arkansas; we filed with the post office a form
forwarding all our mail to our address in Arkansas; and
we moved, and took with us the bulk of the clothes and
possessions we value, to our home in Arkansas, where we
have resided cxi a permanent basis since before this
lawsuit was filed.

(Mrs. Markie Aff. at j 3.)
II. Jurisdiction

Chastain seeks dismissal under Fed. R. Civ. P. 12(b)(l).
According to Chastain, this court does not have jurisdiction
because no federal claims are involved and the parties are not
diverse. (Def.’s Mot. at 1.) The Markies, however, contend that
jurisdiction exists because the parties are citizens of different
states. (Pl.'s Resp. at 1.)

When a Rule l2(b)(l) motion to dismiss presents a factual
controversy, as here, the district court must “weigh the
conflicting evidence to arrive at the factual predicate that
subject matter jurisdiction exists or does not exist. In reviewing
[a factual attack on subject matter jurisdiction], a trial court
has wide discretion to allow affidavits, documents and even a
limited evidentiary hearing to resolve disputed jurisdictional

facts.” Ohio Nat. Life Ins. Co. v. U.S., 922 F.2d 320, 325 (6th

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Cir. 1990). “Where the facts are relatively simple, and
substantially uncontroverted, and the law is not complex, ... a
district court [is] justified in ruling on a motion under Fed. R.
Civ. P. 12(b) (1) without pausing to make findings on disputed
questions of fact.” Commodities Exnort Co. v. U.S. Customs Service
888 F.2d 431, 436-37 {6th Cir. 1989) (internal citations omitted).

Under 28 U.S.C. § 1332 “[t]he district courts shall have
original jurisdiction of all civil actions where the matter in
controversy exceeds the sum or value of $75,000 ... and is between
citizens of different States.” 28 U.S.C. § 1332(a). The plaintiff
has the burden of proving jurisdiction in order to survive the
motion. Moir v. Greater Cleveland Reqional Transit Authorit , 895
F.2d 266, 269 (6th Cir. 1990). The plaintiff must prove by a
preponderance of the evidence that diversity exists. McNutt v.
General Motors Acceptance Corp., 298 U.S. 178, 189 (1936).

A court must determine the citizenship of a person at the time
the plaintiff commences the lawsuit. Rav v. Bird & Son & Asset
Realization CO., InC., 519 F.2d 1081, 1082 (Sth Cir. 1975). For
diversity jurisdiction purposes, an individual is a citizen of the
state in which he is domiciled. §§ifel_yg_§gpkig§, 477 F.2d 1116,
1120 (Gth Cir. 1973). “To acquire a domicile within a particular
state, a person must be physically present in the state and must
have either the intention to make his home there indefinitely or

the absence of an intention to make his home elsewhere.” Id.

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Place of residence is prima facie evidence of domicile. §;ate
Farm Mut. Auto. Ins. Co. v. Dver, 19 F.3d 514, 520 (10th Cir.
1994).2 Additional “‘[i]tems to examine include, but are not
limited to, the place where civil and political rights are
exercised, taxes paid, real and.personal property located, driver's
and other licenses obtained/ bank accounts maintained, location of
club and church membership and places of business or employment,
whether the party rents or owns his residence, how permanent the
living arrangement appears, affiliations with social organizations,
locations of the party's physician, lawyer, accountant, dentist,
stockbroker, and other service providers.'” Bateman v. E.I. DuPont

De Nemours & Co., 7 F.Supp.2d 910, 912 (E.D. Mich. 1998) (quoting

 

Chapnelle v. Beacon Communications Corp., 863 F.Supp. 179, 181
(S.D.N.Y. 1994)). “Defendant’s own statements concerning her
intentions are relevant, but they are of slight weight when they
come into conflict with other facts that tend to disclose a

contrary intent." Edick v. Poznanski, 6 F.Supp.2d 666, 669 (W.D.

 

Mich. 1998). “In sum, the Court must use a ‘totality' of the
evidence' approach, and no single factor is conclusive.” id4

The Markies have stated in their sworn affidavits that when
the lawsuit was filed they resided in Arkansas and intended to

continue residing in Arkansas. Further, their affidavits state that

 

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Even if an individual has more than one residence, he may only have one
domicile at any one time. Williamson v. Osenton, 232 U.S. 619, 625 (1914).

 

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when the lawsuit was filed they carried Arkansas driver licenses,
their cars were registered in Arkansas, they had registered to vote
in Arkansas, and they were in the process of selling or renting
their home in Tennessee. The Markies have explained that their
change in citizenship from Tennessee to Arkansas was motivated by
economic necessity because Mr. Markie's injury has left him
unemployed and maintaining two homes is impossible.

Chastain has presented. little evidence to contradict the
Markies’ claim that they have changed their domicile from Tennessee
to Arkansas. Chastain has presented no evidence contradicting the
Markies' claim that they were selling or renting their Tennessee
residence when the Complaint was filed. He has provided no evidence
contradicting the Markies’ claim that they needed to reduce their
expenses and maintain only one residence after Markie's injury.
Chastain's claim that the “reason” the Markies' Complaint alleges
that they are citizens of Arkansas is to gain diversity
jurisdiction does not go to the question of whether they were in
fact citizens of Arkansas when the Complaint was filed.

The Markies have presented evidence from which the court can
conclude that their domicile, and thus their citizenship, when
their Complaint was filed was in Arkansas. Although Chastain has
presented evidence showing that the Markies were once citizens of
Tennessee, he has not presented any substantial evidence disputing

their showing that, before the lawsuit was filed, they had moved to

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Arkansas and intended to remain in Arkansas. The court concludes
that the Markies have met their burden of proving by a
preponderance of the evidence that they were citizens of Arkansas
when this lawsuit was filed.

III. Conclusion

For the foregoing reasons, the court DENIES Defendant's motion

to dismiss for lack of subject matter jurisdiction.

so 0RDERED this 7-*" "day of July 2005.

M(//"L,

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

 

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